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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 BOROUGH OF WEST CHESTER,
 PENNSYLVANIA

                      Plaintiff,

v.

 3M COMPANY (f/k/a Minnesota Mining and
 Manufacturing Co.); AGC INC. (f/k/a Asahi Glass Co.,
 Ltd.); AGC CHEMICALS AMERICAS INC.;
 ARCHROMA MANAGEMENT, LLC; ARCHROMA
 U.S., INC; ARKEMA, INC.; BASF CORPORATION;
 BUCKEYE FIRE EQUIPMENT COMPANY;
 CARRIER GLOBAL CORPORATION;                                   Civil Action No. ________
 CHEMDESIGN PRODUCTS, INC.; CHEMGUARD,
 INC.; CHEMICALS INCORPORATED; THE
 CHEMOURS COMPANY; THE CHEMOURS                                  NOTICE OF REMOVAL
 COMPANY FC, LLC; CHUBB FIRE, LTD.;
 CLARIANT CORPORATION; CORTEVA, INC.;                           JURY TRIAL DEMANDED
 DEEPWATER CHEMICALS, INC.; DUPONT DE
 NEMOURS, INC.; DYNAX CORPORATION; E. I.
 DUPONT DE NEMOURS AND COMPANY;
 KIDDE-FENWAL, INC.; KIDDE PLC, INC.;
 NATION FORD CHEMICAL COMPANY;
 NATIONAL FOAM, INC.; RAYTHEON
 TECHNOLOGIES CORPORATION (f/k/a United
 Technologies Corporation); TYCO FIRE PRODUCTS
 LP (successor-in-interest to The Ansul Company);
 UTC FIRE & SECURITY AMERICAS
 CORPORATION, INC.; AND JOHN DOE
 DEFENDANTS 1-49,

                      Defendants.

       Defendants Tyco Fire Products LP and Chemguard, Inc. (collectively “Tyco” unless

identified individually by full name), by and through undersigned counsel, hereby give notice of

the removal of this action, pursuant to 28 U.S.C. §§ 1442(a)(1) and 1446, from the Court of

Common Pleas of Chester County, Pennsylvania, to the United States District Court for the Eastern
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District of Pennsylvania. As grounds for removal, Tyco alleges as follows on personal knowledge

as to its own conduct and status and on information and belief as to all other matters:

                                PRELIMINARY STATEMENT

       1.       Plaintiff Borough of West Chester seeks to hold Tyco and certain other Defendants

liable based on their alleged conduct in designing, manufacturing, marketing, distributing, and/or

selling aqueous film-forming foam (“AFFF”) that Plaintiff alleges was used for fire protection,

training, and response activities and resulted in contamination of Plaintiff’s property in the

Borough of West Chester, including but not limited to the former firefighting training facility at

351 Snyder Avenue, West Chester, Pennsylvania (the “Property”).

       2.       Specifically, Plaintiff alleges that Defendants’ AFFF contained per- and

polyfluoroalkyl substances (“PFAS”), including perfluorooctanoic acid (“PFOA”) and

perfluorooctane sulfonic acid (“PFOS”), and that the use of these substances caused contamination

of the soil and groundwater at Plaintiff’s property.

       3.       At least some of the AFFF that has contributed to the alleged contamination at issue

has been manufactured by a select group of suppliers (including Tyco) in accordance with the

military’s rigorous specifications (“MilSpec AFFF”). Under the federal “government contractor”

defense recognized in Boyle v. United Technologies Corp., 487 U.S. 500 (1988), Tyco is immune

to tort liability for its design and manufacture of MilSpec AFFF and its provision of warnings for

the product. Under the federal officer removal statute, 28 U.S.C. § 1442, Tyco is entitled to

remove this action in order to have its federal defense adjudicated in a federal forum. See Papp v.

Fore-Kast Sales Co., 842 F.3d 805, 810–15 (3d Cir. 2016). Such removal “fulfills the federal

officer removal statute’s purpose of protecting persons who, through contractual relationships with




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the Government, perform jobs that the Government otherwise would have performed.” Isaacson

v. Dow Chem. Co., 517 F.3d 129, 133 (2d Cir. 2008).

                                             BACKGROUND

       4.       This action was filed on January 3, 2022, in the Court of Common Pleas of Chester

County, Pennsylvania, bearing Case No. 2022-00027 (Ex. A, Complaint). Venue is proper in this

Court pursuant to 28 U.S.C. §§ 118(a) and 1441(a) because the Court of Common Pleas of Chester

County, Pennsylvania, is located within the Eastern District of Pennsylvania.

       5.       Tyco Fire Products LP was served with this action on January 10, 2022. This

Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b).

       6.       Tyco is not required to notify or obtain the consent of any other Defendant in this

action in order to remove Plaintiff’s action as a whole under § 1442(a)(1). See, e.g., Durham v.

Lockheed Martin Corp., 445 F.3d 1247, 1253 (9th Cir. 2006); Hilbert v. McDonnell Douglas

Corp., 529 F. Supp. 2d 187, 195 (D. Mass. 2008); Linden v. Chase Manhattan Corp., No. 99 Civ.

3970(LLS), 1999 WL 518836, at *1 (S.D.N.Y. July 21, 1999).

       7.       Plaintiff generally alleges that Defendants, including Tyco, have designed,

manufactured, marketed, distributed, and/or sold AFFF products, which contain PFAS, including

PFOS, PFOA, and/or their chemical precursors. (Ex. A, Compl. ¶¶ 6, 8, 29–31). Plaintiff alleges

that the AFFF designed, manufactured, marketed, distributed, and/or sold by Defendants, due to

the use of AFFF in fire protection, training, and response activities at the Property, has caused

contamination of soil and groundwater at Plaintiff’s property. (Id. ¶¶ 1, 3–4, 9–10, 36–37, 54).

Plaintiff further alleges that it has incurred and will incur costs associated with investigating,

remediating, removing, disposing of, treating, and monitoring the alleged contamination of the

Property. (Id. ¶¶ 1, 13, 56, 73, 85, 94, 103, 112, 118; id. at 32 (Prayer for Relief)).




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        8.       Plaintiff asserts claims against all Defendants for strict liability – design defect

and/or defective product (id. ¶¶ 57–74), strict liability – failure to warn (id. ¶¶ 75–86), nuisance

(id. ¶¶ 87–95), trespass (id. ¶¶ 96–104), negligence (id. ¶¶ 105–13), and civil conspiracy (id. ¶¶

114–19). Plaintiffs also asserts a claim for violation of the Pennsylvania’s Uniform Voidable

Transactions Act against Defendants E. I. DuPont de Nemours and Company, The Chemours

Company, The Chemours Company FC, LLC, Corteva, Inc., and DuPont de Nemours, Inc. (id. ¶¶

120–31). Plaintiff also seeks punitive damages against all Defendants (id. at 32 (Prayer for

Relief)).

        9.       Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served

upon all parties and a copy is being filed with the Clerk of the Court of Common Pleas of Chester

County, Pennsylvania.

        10.      By filing a Notice of Removal in this matter, Tyco does not waive the rights of any

Defendant to object to service of process, the sufficiency of process, jurisdiction over the person,

or venue; and Tyco specifically reserves the rights of all Defendants to assert any defenses and/or

objections to which they may be entitled.

        11.      Tyco reserves the right to amend or supplement this Notice of Removal.

                      REMOVAL IS PROPER UNDER THE FEDERAL
                      OFFICER REMOVAL STATUTE, 28 U.S.C. § 1442

        12.      Removal here is proper under the federal officer removal statute, 28 U.S.C.

§ 1442(a)(1), which provides for removal of an action relating to a defendant’s acts undertaken at

the direction of a federal officer. Removal is appropriate under this provision where the removing

defendant establishes that: (a) it is a “person” within the meaning of the statute; (b) it acted under

federal authority; (c) its actions taken pursuant to a federal officer’s direction have a causal nexus

with plaintiff’s claims or injuries or are otherwise related to the lawsuit; and (d) it can assert a



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“colorable” federal defense. Papp, 842 F.3d at 812; cf. Mesa v. California, 489 U.S. 121, 124–25,

129–31, 133–35 (1989); Cuomo v. Crane Co., 771 F.3d 113, 115 (2d Cir. 2014); Hilbert v.

McDonnell Douglas Corp., 529 F.Supp.2d 187, 196 (D.Mass.2008); Isaacson, 517 F.3d at 135;

Durham, 445 F.3d at 1251.

       13.      Removal rights under the federal officer removal statute are much broader than

under the general removal statute, 28 U.S.C. § 1441. Suits against defendants acting on behalf of

federal officers “may be removed despite the nonfederal cast of the complaint; the federal-question

element is met if the defense depends on federal law.” Jefferson County v. Acker, 527 U.S. 423,

431 (1999). This is because § 1442(a)(1) protects “the government’s need to provide a federal

forum for its officers and those who are ‘acting under’ a federal office.” Albrecht v. A.O. Smith

Water Prods., No. 11 Civ. 5990(BSJ), 2011 WL 5109532, at *3 (S.D.N.Y. Oct. 21, 2011) (citation

omitted).    This important federal policy “should not be frustrated by a narrow, grudging

interpretation of [§] 1442(a)(1).” Willingham v. Morgan, 395 U.S. 402, 407 (1969); see Durham,

445 F.3d at 1252. To the contrary, § 1442 as a whole must be “liberally construe[d]” in favor of

removal. Papp, 842 F.3d at 812 (alterations in original) (internal quotation marks omitted).

       14.      All requirements for removal under § 1442(a)(1) are satisfied where, as here, the

notice of removal alleges that the plaintiff’s injuries are caused at least in part by MilSpec AFFF.

See, e.g., Nessel v. Chemguard, Inc., No. 1:20-cv-1080, 2021 WL 744683, at *3 (W.D. Mich. Jan.

6, 2021) (denying motion to remand in AFFF case against Tyco and other manufacturers and

holding that, notwithstanding plaintiffs’ assertion “that they do not seek resolution of any claims

related to MilSpec AFFF[,] . . . Plaintiffs cannot decide what defense Defendants might present”);

Ayo v. 3M Co., No. 18-CV-0373(JS)(AYS), 2018 WL 4781145 (E.D.N.Y. Sept. 30, 2018)

(denying motion to remand and finding that federal officer removal was proper in a lawsuit against




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Tyco and other manufacturers of MilSpec AFFF). The court overseeing the In re Aqueous Film-

Forming Foams Products Liability Litigation multi-district litigation has also found on multiple

occasions that removal under § 1442 is proper where the notice of removal alleges that plaintiffs’

injuries are caused, at least in part, by MilSpec AFFF. See Order, In re AFFF Prods. Liab. Litig.,

MDL No. 2:18-mn-2873-RMG, ECF No. 103 (D.S.C. May 24, 2019) (“MDL Order 1”), at 3–6;

Order, In re AFFF Prods. Liab. Litig., MDL No. 2:18-mn-2873-RMG, ECF No. 320 (D.S.C. Sept.

27, 2019) (“MDL Order 2”), at 3–5; Order, In re AFFF Prods. Liab. Litig., MDL No. 2:18-mn-

2873-RMG, ECF No. 325 (D.S.C. Oct. 1, 2019) (“MDL Order 3”), at 3–6. Given its experience

with the claims and defenses in AFFF litigation, the MDL Court’s holdings clearly demonstrate

that this case, too, has been properly removed to federal court.1

A.     MilSpec AFFF

       15.      Since the 1960s, the United States military has used MilSpec AFFF on military

bases, airfields, and Navy ships—settings where fuel fires are inevitable and potentially

devastating—to train its personnel, put out fires, save lives, and protect property. Indeed, the

United States Naval Research Laboratory developed AFFF in response to catastrophic fires aboard

the aircraft carriers USS Forrestal in 1967 and USS Enterprise in 1969.2 Decades later, the Naval

Research Laboratory described the development of AFFF as “one of the most far-reaching benefits

to worldwide aviation safety.”3




       1
           Following removal, Tyco intends to designate this action for transfer to the MDL.
       2
          See Press Release 71-09r, U.S. Naval Research Lab., Navy Researchers Apply Science
to Fire Fighting (Oct. 23, 2009), https://tinyurl.com/y2jq4q4w.
       3
          U.S. Navy, NRL/MR/1001-06-8951, The U.S. Naval Research Laboratory (1923–2005):
Fulfilling the Roosevelts’ Vision for American Naval Power 37 (2006) (“Fulfilling the Roosevelts’
Vision”), https://permanent.fdlp.gov/gpo125428/roosevelts.pdf.


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       16.       The manufacture and sale of MilSpec AFFF is governed by rigorous military

specifications created and administered by Naval Sea Systems Command.                 The applicable

specification, Mil-F-24385, was first promulgated in 1969, and has been revised a number of times

since then.4 All MilSpec AFFF products must be qualified for listing on the applicable Qualified

Products List prior to military procurement. Prior to such listing, a manufacturer’s products are

examined, tested, and approved to be in conformance with specification requirements.5 The

MilSpec designates Naval Sea Systems Command as the agency responsible for applying these

criteria and determining whether AFFF products satisfy the MilSpec’s requirements. After a

product is added to the Qualified Products List, “[c]riteria for retention of qualification are applied

on a periodic basis to ensure continued integrity of the qualification status.”6 Naval Sea Systems

Command reserves the right to perform any of the quality assurance inspections set forth in the

specification where such inspections are deemed necessary to ensure supplies and services

conform to prescribed requirements.

       17.       From its inception until very recently, the MilSpec included the express

requirement that MilSpec AFFF contain “fluorocarbon surfactants.” All fluorocarbon surfactants

are PFAS, and that category includes PFOA, PFOS, and their chemical precursors—the very

compounds at issue in the Complaint here. This requirement has been in force for virtually the

entire time period at issue in the Complaint.         In 2019 the MilSpec removed the modifier

“fluorocarbon” from “surfactants,” but it expressly states that “the DoD intends to acquire and use



       4
          The 1969 MilSpec and all its revisions and amendments through April 2020 are available
at https://tinyurl.com/yxwotjpg.
       5
            Dep’t of Defense SD-6, Provisions Governing Qualification 1 (Feb. 2014),
https://tinyurl.com/y5asm5bw.
       6
           Id.


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AFFF with the lowest demonstrable concentrations of . . . PFOS and PFOA” “[i]n the short term.”

PFOA or PFOS are unavoidably present at some concentrations in fluorocarbon surfactants, and

the current MilSpec expressly contemplates that AFFF formulations will contain PFOA and PFOS

(subject to recently imposed limits).

B.      All the Requirements of 28 U.S.C. § 1442(a)(1) Are Satisfied

               1.      The “Person” Requirement Is Satisfied

       18.     The first requirement for removal under the federal officer removal statute is

satisfied here because Tyco Fire Products LP and Chemguard, Inc. (a limited partnership and

corporation, respectively) meet the definition of “persons” under the statute. For purposes of §

1442(a)(1), the term “person” includes “corporations, companies, associations, firms, [and]

partnerships.” Papp, 842 F.3d at 812 (quoting 1 U.S.C. § 1); accord Bennett v. MIS Corp., 607

F.3d 1076, 1085 (6th Cir. 2010); Isaacson, 517 F.3d at 135–36.

               2.      The “Acting Under” Requirement Is Satisfied

       19.     The second requirement (“acting under” a federal officer) is satisfied when an entity

assists or helps carry out, the duties or tasks of a federal officer. Papp, 842 F.3d at 812. “The

words ‘acting under’ are to be interpreted broadly . . . .” Isaacson, 517 F.3d at 136 (citation

omitted). Federal courts “have explicitly rejected the notion that a defendant could only be ‘acting

under’ a federal officer if the complained of conduct was done at the specific behest of the federal

officer or agency.” Papp, 842 F.3d at 813.

       20.     The requirement of “acting under” federal office is met here because the effect of

Plaintiff’s claims, at least in part, is to challenge Tyco’s alleged conduct in providing vital products

“that, in the absence of Defendants, the Government would have had to produce itself.” Isaacson,

517 F.3d at 137. MilSpec AFFF is a mission-critical military and aviation safety product that,

without the support of private contractors, the government would have to produce for itself. See


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Ayo, 2018 WL 4781145, at *9 (describing MilSpec AFFF as a “mission-critical” and “life-saving

product” used by all branches of the U.S. armed forces and NATO members (internal quotation

marks omitted)); cf. Isaacson, 517 F.3d at 137. The Naval Research Laboratory states that,

“[a]lthough [it] was responsible for the original concepts and formulations, it was necessary to

elicit the aid of the chemical industry to synthesize the fluorinated intermediates and agents to

achieve improvements in formulations.”7 Accordingly, the military has long depended upon

outside contractors like Tyco to develop and supply AFFF. See Chemguard, 2021 WL 744683, at

*3 (holding that Tyco and other AFFF manufacturers were “acting under” a federal officer in

connection with the manufacture and sale of MilSpec AFFF); Ayo, 2018 WL 4781145, at *8–9

(same); see also MDL Order 1, at 3–6 (finding that the “acting under” requirement was satisfied

because defendant demonstrated that it was manufacturing AFFF under the guidance of the U.S.

military); MDL Order 2, at 3–5; MDL Order 3, at 3–6 (same). If Tyco and other manufacturers

did not provide MilSpec AFFF, the government would have to manufacture and supply the product

itself.

          21.       In designing, manufacturing, and supplying the MilSpec AFFF at issue, Tyco acted

under the direction and control of one or more federal officers. Specifically, Tyco acted in

accordance with detailed specifications, promulgated by Naval Sea Systems Command, that

govern AFFF formulation, performance, testing, storage, inspection, packaging, and labeling.

Further, the AFFF products in question were subject to various tests by the United States Navy

before and after being approved for use by the military and for inclusion on the Qualified Products

List maintained by the DoD.8



          7
              Fulfilling the Roosevelts’ Vision, supra n.3, at 37.
          8
              See Dep’t of Defense, SD-6, supra n.5, at 1.


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               3.      The Nexus Requirement Is Satisfied

       22.     The third requirement, that the defendant’s actions taken “under color of federal

office” have a causal nexus with plaintiff’s claims or injuries or be otherwise related to the lawsuit,

erects a hurdle that “is quite low.” Isaacson, 517 F.3d at 137.9 To satisfy this requirement, it is

sufficient for a defendant to establish that an act that allegedly caused or contributed to the

plaintiff’s injury occurred while the defendant was performing its official duties. Id. at 137–38.

       23.     Here, the Plaintiff’s claims arise at least in part from Tyco’s production and sale of

AFFF manufactured to military specifications. Plaintiff alleges that the use of PFAS in AFFF is

the source of its injuries. Tyco contends that the use of such chemicals in MilSpec AFFF was

required by military specifications. The conflict is apparent: MilSpec AFFF was developed by

Tyco, and other manufacturers to meet specifications established by the DoD. The design choices

Plaintiff is attempting to impose via state tort law would create a conflict in which Tyco could not

comply with both the MilSpec and the purported state-prescribed duty of care. See Boyle, 487

U.S. at 509; see also Ayo, 2018 WL 4781145, at *9 (“[T]here is evidence of a ‘casual connection’

between the use of PFCs in AFFF and the design and manufacture of AFFF for the government.”);

MDL Order 1, at 5–6 (“Here, [Plaintiff]’s claims arise out of use of AFFF products that it claims

Tyco manufactured and sold, and for which the U.S. military imposes MilSpec standards. The

Court . . . finds that the causation element of federal officer removal is satisfied here.”); MDL

Order 2, at 5 (finding the causation element of federal officer removal satisfied where Tyco’s

AFFF products, “for which the military imposes MilSpec standards,” were used at several

airports); MDL Order 3, at 5–6 (same as to MilSpec AFFF used at a single airport).


       9
         The “acting under” and “under color of” prongs overlap. Both “are satisfied if the actions
subject to suit resulted directly from government specifications or direction.” Albrecht, 2011 WL
5109532, at *5.


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        24.     Here, Plaintiff’s purported injuries arise at least in part from MilSpec AFFF. The

causal connection or relationship between Plaintiff’s alleged injuries and Tyco’s actions under

color of federal office is clear. It is irrelevant that Plaintiff does not expressly contend that it has

been injured by MilSpec AFFF. Courts “credit Defendants’ theory of the case when determining

whether [the] causal connection exists.” Isaacson, 517 F.3d at 137; see also Chemguard, 2021

WL 744683, at *3 (noting that “Plaintiffs cannot decide what defense Defendants might present”).

                4.      The “Colorable Federal Defense” Requirement Is Satisfied

        25.     The fourth requirement (“colorable federal defense”) is satisfied by Tyco’s

assertion of the government contractor defense.

        26.     At the removal stage, a defendant need only show that its government contractor

defense is colorable; that is, “that the defense was ‘legitimate and [could] reasonably be asserted,

given the facts presented and the current law.’” Papp, 842 F.3d at 815 (alteration in original)

(citation omitted). “A defendant ‘need not win his case before he can have it removed.’” Id.

(quoting Willingham, 395 U.S. at 407); see also Isaacson, 517 F.3d at 139 (“To be ‘colorable,’ the

defense need not be ‘clearly sustainable,’ as the purpose of the statute is to secure that the validity

of the defense will be tried in federal court.” (citation omitted)); O’Connell v. Foster Wheeler

Energy Corp., 544 F. Supp. 2d 51, 54 (D. Mass. 2008) (upon removal, defendant must raise

“colorable federal defense”). At the removal stage, the inquiry “is purely jurisdictional, and neither

the parties nor the district courts should be required to engage in fact-intensive motion practice,

pre-discovery, to determine the threshold jurisdictional issue.”         Cuomo, 771 F.3d at 116.10



        10
           See also Kraus v. Alcatel-Lucent, No. 18-2119, 2018 WL 3585088, at *2 (E.D. Pa. July
25, 2018) (“A court does not ‘determine credibility, weigh the quantum of evidence or discredit
the source of the defense’ at this stage. Instead, [the court] only determine[s] whether there are
sufficient facts alleged to raise a colorable defense.” (internal citation omitted)).


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Moreover, “this inquiry is undertaken whilst viewing the facts in the light most favorable to

Defendants.” Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770, 783–84 (E.D. Pa. 2010).

“Precisely in those cases where a plaintiff challenges the factual sufficiency of the defendant’s

defense, the defendant should ‘have the opportunity to present [his] version of the facts to a federal,

not a state, court.’” Cuomo, 771 F.3d at 116 (alteration in original) (citation omitted).

       27.     Under the government contractor defense, the defendant is not liable for the design,

manufacture, or warnings of equipment or supplies “when (1) the United States approved

reasonably precise specifications; (2) the equipment conformed to those specifications; and (3) the

supplier warned the United States about the dangers in the use of the equipment that were known

to the supplier but not to the United States.” Boyle, 487 U.S. at 512.

       28.     Tyco has satisfied these elements for purposes of removal. As discussed above,

Naval Sea Systems Command approved reasonably precise specifications, governing MilSpec

AFFF formulation, performance, testing, storage, inspection, packaging, and labeling. Tyco’s

products appeared on the DoD Qualified Products List, which could have happened only if Naval

Sea Systems Command had first determined that they conformed to the MilSpec. See Ayo, 2018

WL 4781145, at *13 (“[T]here is colorable evidence that Manufacturing Defendants’ Mil-Spec

AFFF is not a stock product and that the government approved reasonably precise specifications

requiring them to use PFCs, including PFOS and PFOA, in their products.”); see also id. (“There

is also colorable evidence . . . that Manufacturing Defendants’ AFFF products conformed to the

government’s reasonably precise specifications.”); MDL Order 1, at 5 (finding defendant

demonstrated a colorable defense “where it contends that its AFFF products were manufactured

according to the U.S. military’s MilSpec specifications”); MDL Order 2, at 4 (same, as to Tyco);

MDL Order 3, at 5 (same); see also Chemguard, 2021 WL 744683, at *4.




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       29.      Moreover, the government was sufficiently informed regarding alleged product-

related “dangers,” Boyle, 487 U.S. at 512, to exercise its discretionary authority in specifying and

procuring MilSpec AFFF. The military specifications have long included testing protocols and

requirements for toxicity, chemical oxygen, and biological demand. Indeed, it is clear that the

United States has long understood that AFFF contains PFAS and may contain or break down into

PFOS and/or PFOA; that AFFF constituents can migrate through the soil and potentially reach

groundwater; and that it has been reported that this may raise environmental or human health

issues.11 For example, as early as October 1980, a report supported by the U.S. Navy Civil

Engineering Laboratory, U.S. Air Force Engineering Service Center, and the U.S. Army Medical

Research and Development Command stated that AFFF contained fluorocarbons and that “[a]ll of

the constituents resulting from fire fighting exercises are considered to have adverse effects

environmentally.”12 By no later than 2001, DoD was aware of data purportedly showing PFAS

compounds in MilSpec AFFF to be “toxic” and “persistent.”             In 2002, the United States

Environmental Protection Agency issued a draft hazard assessment for PFOA, which reviewed in

detail, among other data, human epidemiological studies and animal toxicology studies pertaining

to alleged associations between PFOA and cancer. More recently, in a November 2017 report to

Congress, the DoD acknowledged the concerns raised by the EPA regarding PFOS and PFOA.

Nonetheless, it still described AFFF containing PFOS or PFOA as a “mission critical product [that]

saves lives and protects assets by quickly extinguishing petroleum-based fires.”13 Indeed, Naval



       11
        See, e.g., EPA, Revised Draft Hazard Assessment of Perfluorooctanoic Acid and Its Salts
1–6 (Nov. 4, 2002).
       12
           See Edward S. K. Chian et al., Membrane Treatment of Aqueous Film Forming Foam
(AFFF) Wastes for Recovery of Its Active Ingredients 1 (Oct. 1980),
https://apps.dtic.mil/dtic/tr/fulltext/u2/a136612.pdf.
       13
            Dep’t of Defense, Aqueous Film Forming Foam Report to Congress 1–2 (Oct. 2017)


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Sea Systems Command continues to require that MilSpec AFFF contain “surfactants,” and

recognizes that PFAS, including PFOS and PFOA, will be present (subject to recently imposed

limits for PFOS and PFOA) in AFFF formulations.14 See Ayo, 2018 WL 4781145, at *12 (“That

the DoD knows of the alleged risks of PFC-based AFFF products but continues to purchase them

supports the position that the government approved reasonably precise specifications for the

claimed defective design.”); MDL Order 1, at 5 (“As to whether [defendant] adequately informed

the U.S. military of dangers associated with its AFFF products of which the military was not

already aware, [defendant] points to materials such as a November 2017 Department of Defense

report to Congress, in which the agency acknowledged the [EPA]’s stated concerns with

PFOS/PFOA in drinking water . . . .”).

       30.     At minimum, these facts constitute colorable evidence that Naval Sea Systems

Command “made a discretionary determination” regarding the formulation of MilSpec AFFF after

weighing the fire-suppression benefits against the alleged risks. See Twinam v. Dow Chem. Co.

(In re “Agent Orange” Prod. Liab. Litig.), 517 F.3d 76, 90 (2d Cir. 2008); see also Albrecht, 2011

WL 5109532, at *5 (“A defendant is not required to warn the government where ‘the government

knew as much or more than the defendant contractor about the hazards of the product.’” (citation

omitted)). Where, as here, the government has exercised “discretionary authority over areas of

significant federal interest such as military procurement,” the government contractor defense

applies. In re “Agent Orange” Prod. Liab. Litig., 517 F.3d at 89–90; see also Ayo, 2018 WL

4781145, at *13.


(pub. Nov. 3, 2017), https://tinyurl.com/wshcww4.
       14
            See MIL-PRF-24385F(SH), Amendment 4, § 6.6 & Tables I, III (2020),
https://quicksearch.dla.mil/qsDocDetails.aspx?ident_number=17270; see also David Vergun,
DOD Officials Discuss Fire-Fighting Foam Replacement, Remediation Efforts (Sept. 16, 2020),
https://tinyurl.com/ty5ku8hp.


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       31.     Tyco’s use of PFAS in MilSpec AFFF was required by military specifications. By

seeking to impose tort liability on Tyco for alleged injuries to Plaintiff that were caused in whole

or in part by Tyco’s compliance with military specifications, Plaintiff is attempting to use state tort

law to attack design choices dictated by the military. The government contractor defense precludes

such an attack. See Boyle, 487 U.S. at 509.

       WHEREFORE, Tyco hereby removes this action from the Court of Common Pleas of

Chester County, Pennsylvania, to this Court.



       Dated: February 9, 2022                 Respectfully submitted,

                                               HANGLEY ARONCHICK SEGAL PUDLIN
                                               & SCHILLER

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